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               STATE BAR OF TEXAS



Office of the Chief Disciplinary Counsel

September I 9, 2019



Re: Mr. Reagan Allison Reaud, State Bar Number 24046690


To Whom It May Concern:

This is to certify that Mr. Reagan Allison Reaud was licensed to practice law in Texas on November
05, 2004, and is an active member in good standing with the State Bar of Texas. "Good standing"
means that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal
Education requirements; and is not presently under either administrative or disciplinary suspension
from the practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.



Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427. 1350; FAX : 512.427.4167
